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1                                                           The Honorable David G. Estudillo

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7                               UNITED STATES DISTRICT COURT
8                             WESTERN DISTRICT OF WASHINGTON
9                                           AT TACOMA
10    JENNIFER WYSOCKI, ANDREW SIDHU,
      BETSY KELLOGG, and KEISHA                   Case No. 3:22-cv-05453-DGE
11    FLEMISTER, Individually and on Behalf of
      All Others Similarly Situated,              DEFENDANTS’ OPPOSITION TO
12                                                PLAINTIFFS’ MOTION TO LIFT
                       Plaintiffs,                DISCOVERY STAY AND TO
13                                                CONTINUE DEFENDANTS’ MOTION
            v.                                    TO DISMISS UNTIL DISCOVERY
14                                                CONDUCTED
      ZOOMINFO TECHNOLOGIES INC.,
15    ZOOMINFO TECHNOLOGIES LLC,                  NOTE ON MOTION CALENDAR:
      ZOOMINFO HOLDINGS LLC, and                  April 7, 2023
16    ZOOMINFO INTERMEDIATE INC.,
                                                  ORAL ARGUMENT REQUESTED
17                     Defendants.
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     DEFENDANTS’ OPPOSITION TO MOTION FOR                 ORRICK, HERRINGTON & SUTCLIFFE LLP
                                                                401 Union Street, Suite 3300
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1           Defendants ZoomInfo Technologies Inc., ZoomInfo Technologies LLC, ZoomInfo

2    Holdings LLC, and ZoomInfo Intermediate Inc. file this Opposition to Plaintiffs’ Motion to

3    Lift the Discovery Stay and to Continue Defendants’ Motion to Dismiss Until Discovery is

4    Conducted (DE 65), and state as follows:

5                                           INTRODUCTION

6           This case concerns ZoomInfo Technologies LLC’s Community Edition Program and

7    its software application, Contact Contributor. Named Plaintiffs purport to represent classes of

8    Community Edition Subscribers and Non-Subscribers in seven states and nationwide.

9    However, no private information in ZoomInfo’s database is traceable to Community Edition,

10   nor has any class representative ever subscribed to Community Edition or installed Contact

11   Contributor. Because that implicates the Court’s subject matter jurisdiction, Defendants

12   moved for dismissal on Article III grounds.

13          Plaintiffs now ask the Court to stay briefing and allow discovery concerning the facts

14   purportedly underlying Defendants’ Article III motion. But Plaintiffs have the relevant facts.

15   They are contained in the exhibits and affidavits accompanying the Article III motion or

16   already known to Plaintiffs. In the Article III motion, ZoomInfo Technologies LLC provided

17   the data points it collected about each alleged Non-Subscriber Named Plaintiff, including

18   where each data point was sourced. ZoomInfo Technologies LLC also provided Named

19   Plaintiff Kellogg’s contract (of which she is already aware), evincing she is not a Community

20   Edition Subscriber but rather a paid Subscriber. This information demonstrates conclusively
21   that the origin of the data in question was not Contact Contributor. There is no discovery

22   available that would weigh on these critical facts. For these reasons, Defendants believe that

23   discovery is a needless expenditure of party resources.

24          Should the Court see fit, Defendants will produce witnesses to explain and support the

25   hard and conclusive data in their Article III affidavits. However, Defendants oppose

26   Plaintiffs’ attempt to forage for wide-ranging merits discovery, occasioned by Defendants’
27   proof that no Named Plaintiff has standing to bring a claim. Accordingly, if the Court is

28   inclined to grant discovery, Defendants do not oppose discovery limited to depositions of the
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1    two declarants and written discovery limited to the origin of the information about Named

2    Plaintiffs stored in ZoomInfo’s database. That defines the scope of the Article III inquiry and

3    strikes the proper balance. It enables Named Plaintiffs to ascertain the accuracy of the

4    information in support of the Article III motion while safeguarding against attempts to use this

5    as a fishing expedition.

6                                        STATEMENT OF FACTS

7    I.      INITIAL PROCEDURAL HISTORY
8            Plaintiffs filed their Class Action Complaint on June 21, 2022, alleging thirteen causes
9    of action on behalf of various classes of Community Edition Subscribers as well as Non-
10   Subscribers (i.e., those whose information was extracted from Subscribers’ incoming emails).
11   See DE 1. After failing to serve their initial Complaint, Plaintiffs filed an Amended Complaint
12   on August 18, 2022, and a Second Amended Complaint (“SAC”) on September 15, 2022. See
13   DE 11; DE 19. The crux of Plaintiffs’ claims is straightforward: ZoomInfo Technologies
14   LLC’s Community Edition program unlawfully “reads” information from incoming and
15   outgoing emails and collects personal information to be populated in ZoomInfo’s database.
16   See, e.g., DE 19 ¶¶ 11, 30-32, 68-72. The SAC does not allege that Plaintiffs suffered harm
17   because of any program other than Community Edition.
18           On October 28, 2022, Defendants filed a Motion to Dismiss the SAC for failure to state
19   a claim under Rule 12(b)(6) and a Motion to Strike Class Allegations pursuant to Rules 12(f)
20   and 23(c). See DE 22; DE 21. Those motions are fully briefed. On November 3, 2022,
21   Defendants filed a Motion for a Protective Order Staying Discovery, explaining, inter alia,
22   that Plaintiffs’ allegations are facially defective, as they fail to articulate a plausible basis
23   (much less a Rule 9 basis) for believing that Contact Contributor “reads” the content of their
24   emails. Plaintiffs have countered that the presence of their contact information in ZoomInfo’s
25   database evinces that Contact Contributor “reads” something other than signature blocks.
26   Given the facially deficient nature of Plaintiffs’ allegations, Defendants asked that the Court
27   stay discovery until ruling on the motions to dismiss and strike. See DE 23. On December 2,
28
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1    2022, the Court entered an order allowing discovery into two discrete issues:

2           “(1) which Defendant participated, and how, in activity Plaintiffs claim
            operates in contradiction to the Terms of Use and Privacy Policy as alleged in
3
            the Second Amended Complaint and in contradiction to any Defendant’s
4           website; and (2) what, if any, role each named Defendant had in the acts
            alleged. As to these two issues, discovery shall commence immediately.”
5
     DE 36. All other discovery was stayed. Id.
6
     II.    DEFENDANTS’ ARTICLE III MOTION AND PLAINTIFFS’ REQUEST TO
7           EXPAND DISCOVERY
8           Following the Court’s discovery ruling and in the course of investigating Plaintiffs’
9    allegations, Defendants learned that the deficient investigation that spawned the SAC’s
10   speculative allegations has also led to a separate, foundational problem: none of the Named
11   Plaintiffs are Contact Contributor Subscribers nor did their information in ZoomInfo’s
12   database originate from Contact Contributor. Stated in the vernacular of Article III, Plaintiffs’
13   proclaimed injuries are not traceable to the allegedly offending conduct, namely, Contact
14   Contributor supposedly “read[ing]” “the entirety of individuals’ incoming and outgoing
15   communications.”
16          In advance of the March 3, 2023 status conference, Defendants alerted Plaintiffs and
17   the Court that they intended to file a motion to dismiss for lack of Article III standing. On
18   March 16, 2023, Defendants filed the Motion to Dismiss for Lack of Standing (“Article III
19   Motion”). DE 57. As the Article III Motion explains, Contact Contributor is not the only way
20   that ZoomInfo sources information for its database. Id. at 3-4. ZoomInfo draws from a
21   multitude of sources. Id. For each Named Plaintiff, the information that they assert was
22   improperly collected by Contact Contributor was, in fact, collected from various other sources.
23   Id. at 6-9. Likewise, Plaintiff Kellogg, the sole alleged Subscriber representative, has never
24   had Contact Contributor installed on her computer, and thus has no standing to challenge
25   Contact Contributor “reading” her emails. Id. at 9-10. Accordingly, Named Plaintiffs could
26   not, and did not, suffer any alleged harm due to Contact Contributor.
27          Without conferring with Defendants, on March 23, 2023, Plaintiffs filed a Motion to
28
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1    Lift the Discovery Stay and to Continue Defendants’ Motion to Dismiss until Discovery is

2    Conducted (“Discovery Motion”). See DE 65. Plaintiffs’ Discovery Motion includes a

3    laundry list of requests that they supposedly “need,” only a few of which relate to the narrow

4    issues raised in the Article III Motion: the origin of Named Plaintiffs’ information maintained

5    in ZoomInfo’s database and whether Plaintiff Kellogg is a Community Edition Subscriber. Id.

6    at 6-8.

7                                                ARGUMENT

8              Jurisdictional discovery is not permitted as of right. The moving party must

9    specifically identify what further discovery would reveal that is relevant to the Court’s

10   jurisdictional determination. See Sinatro v. Mrs. Gooch’s Nat. Food Mkts., Inc., No. 22-CV-

11   03603-TLT, 2023 WL 2324291, at *6 (N.D. Cal. Feb. 16, 2023) (denying jurisdictional

12   discovery because the plaintiff did not describe “‘with any precision’” how further discovery

13   would assist the court) (quoting LNS Enters. LLC v. Cont'l Motors, Inc., 22 F.4th 852, 865 (9th

14   Cir. 2022)). “‘[W]hen it is clear that further discovery would not demonstrate facts sufficient

15   to constitute a basis for jurisdiction’” or the request for discovery is “‘based on little more than

16   a hunch that it might yield jurisdictionally relevant facts,’” jurisdictional discovery is

17   unwarranted. Amazon.com Servs. LLC v. Paradigm Clinical Rsch. Inst., Inc., No. 2:21-CV-

18   00753 RAJ, 2022 WL 18665011, at *4 (W.D. Wash. Sept. 28, 2022) (quoting Wells Fargo &

19   Co. v. Wells Fargo Express Co., 556 F.2d 406, 430 n.24 (9th Cir. 1977) and Boschetto v.

20   Hansing, 539 F.3d 1011, 1020 (9th Cir. 2008)).
21             Here, Plaintiffs fail to identify any discovery that would alter the central facts that are

22   before the Court. Defendants’ Article III Motion rests on incontrovertible evidence. No

23   Named Plaintiff is a Community Edition subscriber. That is a fact. And information about

24   Named Plaintiffs in ZoomInfo’s database was not acquired through Contact Contributor,

25   independent of other public sources. That is also a fact. These facts preclude Named Plaintiffs

26   from bringing their claims, representing a class, or issuing discovery aimed purely at the
27   speculative injuries of unknown third parties.

28             Notwithstanding Plaintiffs’ failure to articulate any basis for discovery, if the Court is
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1    inclined to grant discovery, Defendants do not oppose, provided discovery is properly

2    calibrated to the relevant Article III inquiry. Had Plaintiffs met and conferred in advance of

3    this filing (see Local Rule 37(a)(1)), Defendants would have apprised them of as much. What

4    Defendants do oppose is any attempt to use jurisdictional discovery as a “fishing expedition.”

5    Cascade Yarns, Inc. v. Knitting Fever, Inc., No. C10-861 RSM, 2011 WL 2470671, at *5

6    (W.D. Wash. June 17, 2011). Plaintiffs’ blunderbuss request for twenty categories of

7    discovery, excluding subparts (DE 65 at 6-8), creates precisely these concerns. See Sinatro,

8    2023 WL 2324291, at *6; Wilson v. Alaska Native Tribal Health Consortium, 399 F. Supp. 3d

9    926, 940 (D. Alaska 2019). To strike the proper balance, Defendants propose limiting

10   discovery to the depositions of the two declarants in the Article III Motion and focused written

11   requests directed to ZoomInfo Technologies LLC regarding information pertaining solely to

12   Named Plaintiffs’ accounts or information.1 Defendants’ positions on Plaintiffs’ requests are

13   as follows:

14                   Discovery Sought in                     Relevance to the Issues Raised in
15               Plaintiffs Discovery Motion                  Defendants’ Article III Motion
                                                        Already provided
16       The source of Plaintiffs’ information
                                                        ZoomInfo Technologies LLC has already
17       displayed on ZoomInfo
                                                        provided this information in the Article III
                                                        Motion.
18
                                                        Contest: Irrelevant
19       All records, including documents, computer
         files or any other source which records        How Contact Contributor captures
20       which information, including metadata, is      information is irrelevant to whether Contact
         captured by Contact Contributor                Contributor did, in fact, capture Named
21                                                      Plaintiffs’ information.
22       All records, including documents, computer     Already provided in relevant part
         files or any other source which records
23       which information, including metadata, is      To the extent that this category requests
         captured by technologies employed by           information regarding whether Contact
24
         ZoomInfo, which is separate from Contact       Contributor collected Named Plaintiffs’
25       Contributor                                    information, ZoomInfo Technologies LLC

26   1
       Defendants request that discovery be limited to ZoomInfo Technologies LLC. Defendants
27   have adequately conveyed that the other three entities have no operations and employees, and
     thus have no insight to share concerning the origin of Named Plaintiffs’ information in
28   ZoomInfo’s database.
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1                 Discovery Sought in                       Relevance to the Issues Raised in
              Plaintiffs Discovery Motion                     Defendants’ Article III Motion
2                                                      has already provided this information in the
3                                                      Article III Motion.

4                                                      The technology behind ZoomInfo
                                                       Technologies LLC’s other programs beyond
5                                                      Contact Contributor is irrelevant and beyond
                                                       the scope of the issues raised in the Article
6
                                                       III Motion.
7                                                      Contest: Irrelevant
      All documents and information relating to
8                                                      ZoomInfo Technologies LLC’s “third-party
      third-party vendors identified by the
                                                       vendors” have nothing to do with whether
9     Defendants in their Motion
                                                       Named Plaintiffs’ information was collected
                                                       by Contact Contributor.
10
                                                       Conditionally agree
11
      Deposing the two declarants whose                Defendants agree to depositions of the
12    declarations were submitted with the motion      declarants to the Article III Motion, so long
                                                       as the depositions are limited to the contents
13                                                     of those declarations.
14                                                     Agree
      Deposing declarants familiar with
15                                                     ZoomInfo Technologies LLC will produce a
      ZoomInfo’s Traceability UI
                                                       witness to testify concerning the
16                                                     functionality of Traceability UI.
                                                       Contest: Irrelevant
17
      All documents and information relating to
18                                                     Where information captured by Contact
      how and where the information captured by
                                                       Contributor is stored has no bearing on
      Contact Contributor is stored
19                                                     whether Named Plaintiffs’ information was,
                                                       in fact, collected by Contact Contributor.
20                                                     Contest: Irrelevant
21    All documents and information relating to
                                                       ZoomInfo Technologies LLC’s use of
      the types of information, including data
22                                                     “human reviewers and/or data scientists
      fields and metadata that is reviewed by
                                                       and/or data analysts” and the data they
      human reviewers and/or data scientists
23                                                     review has no bearing on whether Named
      and/or data analysts
                                                       Plaintiffs’ information was collected by
24                                                     Contact Contributor.
25                                                     Contest: Irrelevant
      All documents and information relating to
      the records maintained by ZoomInfo which
26                                                     ZoomInfo Technologies LLC’s use of
      records the content reviewed by human
                                                       “human reviewers and/or data scientists
27    reviewers and/or data scientists and/or data
                                                       and/or data analysts” and the data they
      analysts, including records of content that
                                                       review has no bearing on whether Named
28
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1                Discovery Sought in                           Relevance to the Issues Raised in
             Plaintiffs Discovery Motion                         Defendants’ Article III Motion
2     was reviewed but not stored and/or included         Plaintiffs’ information was collected by
3     by ZoomInfo on its platform                         Contact Contributor.

4

5     All documents and information relating to
      the human review program, including                 Contest: Irrelevant
6     training manuals and policies and procedures
      employed by ZoomInfo in manual review of            ZoomInfo Technologies LLC’s use of a
7     email content, including any documents              “human review program” has no bearing on
      which deal with the treatment of sensitive or       whether Named Plaintiffs’ information was
8
      PII information captured by Contact                 collected by Contact Contributor.
9     Contributor
                                                          Conditionally agree
10    Documents, files, or any other record
      reviewed to make determinations that
                                                          If the Court grants discovery, ZoomInfo
11    Plaintiffs’ information was not captured by
                                                          Technologies LLC will produce this
      Contact Contributor
12                                                        information.
                                                          Conditionally agree
      Names, designations, roles of ZoomInfo
13    employees and/or third parties consulted to
                                                          If the Court grants discovery, ZoomInfo
14    determine that Plaintiffs’ information was
                                                          Technologies LLC will produce this
      not captured by Contact Contributor
                                                          information.
15
                                                          Conditionally agree
16    The full extent of Plaintiffs’ information
      available and/or in possession of ZoomInfo,         If the Court grants discovery, ZoomInfo
17    including information that may not be               Technologies LLC will produce as
      displayed on ZoomInfo’s database                    proportionate with the needs of the Article
18                                                        III inquiry.
19                                                        Contest: Irrelevant

20    Plaintiffs’ information that was available to
                                                          ZoomInfo Technologies LLC’s data
      ZoomInfo during the Class Period, but since
                                                          retention practices and policies have no
21    then has been deleted, destroyed, and/or not
                                                          bearing on whether Named Plaintiffs’
      available to ZoomInfo any more
22                                                        information was collected by Contact
                                                          Contributor.
23
                                                          Contest: Irrelevant
24
      Specific data and/or data fields of Plaintiffs’
25                                                        ZoomInfo Technologies LLC’s data
      information that were destroyed, deleted or
                                                          retention practices and policies have no
      otherwise not available to ZoomInfo
26                                                        bearing on whether Named Plaintiffs’
      anymore
                                                          information was collected by Contact
27                                                        Contributor.
28
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1                 Discovery Sought in                          Relevance to the Issues Raised in
              Plaintiffs Discovery Motion                       Defendants’ Article III Motion
2
      The specific data and/or data fields of             Contest: Irrelevant
3
      Plaintiffs’ information that was shared, sold,
4     disseminated and/or otherwise disclosed to          ZoomInfo Technologies LLC’s disclosure
      any third parties, including the human              practices and policies have no bearing on
5     reviewers and/or data analysts employed by          whether Named Plaintiffs’ information was
      Defendants                                          collected by Contact Contributor.
6

7                                                         Contest: Irrelevant
      Information and documents relating to any
8     profile that ZoomInfo displays and/or
                                                          None of the information sought in this
      displayed, during the Class Period, on their
                                                          category has any bearing on whether Named
9     database, that is a result of Plaintiffs’ email
                                                          Plaintiffs’ information was collected by
      correspondences
10                                                        Contact Contributor.

11                                                        Contest: Irrelevant
12
      ZoomInfo’s storage, deletion and retention          ZoomInfo Technologies LLC’s data
13    policies during the Class Period                    retention practices and policies have no
                                                          bearing on whether Plaintiffs’ information
14                                                        was collected by Contact Contributor.
15
                                                          Contest: Irrelevant
      Information and documents relating to
16
      Plaintiffs’ incoming and/or outgoing email
                                                          None of the information sought in this
17    correspondence(s) that were shared with
                                                          category has any bearing on whether Named
      third parties, including human reviewers and
                                                          Plaintiffs’ information was collected by
18    data analysts employed by ZoomInfo
                                                          Contact Contributor.
19
                                                          Contest: Irrelevant
20
      Information and documents relating to
21                                                        None of the information sought in this
      ZoomInfo’s “Privacy Notice” sent to
                                                          category has any bearing on whether Named
      Plaintiffs
22                                                        Plaintiffs’ information was collected by
                                                          Contact Contributor.
23

24
            ZoomInfo Technologies LLC is prepared to produce information, through documents
25
     and/or depositions, showing that Named Plaintiffs’ information displayed in ZoomInfo’s
26
     database was not collected through Contact Contributor (though the Article III Motion already
27
     makes this plain). Defendants are not, however, willing to engage in wide reaching merits
28
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1    discovery where Plaintiffs are shown to lack standing and before the Court rules on

2    Defendants’ motions to dismiss.

3                                            CONCLUSION

4           Defendants respectfully requests that the Court deny Plaintiffs’ Motion to Lift the

5    Discovery Stay and to Continue Defendants’ Motion to Dismiss until Discovery is Conducted,

6    in its entirety. If the Court grants Plaintiffs’ Discovery Motion in whole or in part, Defendants

7    request that the Court order the discovery identified by Defendants.

8                                           CERTIFICATION

9           I certify that this memorandum contains 2,648 words, in compliance with the Local

10   Civil Rules.

11
     Dated: April 3, 2023                           Respectfully Submitted,
12
                                                    ORRICK, HERRINGTON & SUTCLIFFE LLP
13

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